 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 1 of 37 PageID# 3292

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                                                                         I -0-3 2VI l:L,
                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
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                                                                       CLERK U^. DIS IRICT COURT
                              Richmond Division                               RICHMOND. VA



APEX SYSTEMS, LLC,

     Plaintiff,

V.                                                Civil Action No. 3:21cvl65

BEACON HILL STAFFING GROUP, LLC,
et al.,

     Defendants.




                              MEMORANDUM OPINION


     This    matter   is    before   the     Court   on   DEFENDANT   BEACON     HILL


STAFFING    GROUP,    LLC'S    MOTION      TO   DISMISS    PLAINTIFF'S       VERIFIED

COMPLAINT (EOF No. 40) (''Beacon Hill's Motion") and                    DEFENDANTS

MERRIAM     AND   SCOTT'S     MOTION    TO      DISMISS   PLAINTIFF'S        VERIFIED


COMPLAINT (EOF No. 42) ("Merriam and Scott's Motion).

     Finding that the Court has subject matter jurisdiction under

28 U.S.C. § 1332, and that Apex's Complaint states claims upon

which relief can be granted, the Court will deny Beacon Hill's

Motion and Merriam and Scott's Motion.


                              SUMMARY OF DISPUTE


     This case is about a dispute over the hiring practices of

Beacon Hill Staffing Group, LLC ("Beacon Hill").                  Apex Systems,

LLC ("Apex") alleges that Beacon Hill tortiously interfered with
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 2 of 37 PageID# 3293




its employment contracts by inducing its employees to accept jobs

with Beacon Hill that breached legitimate restrictive covenants.

Beacon Hill moved to have the case dismissed for lack of personal

jurisdiction under Fed. R. Civ. P. 12(b)(2) and for failure to

state a claim under Fed. R. Civ. P. 12(b)(6).

       Beacon Hill argues in support of its motion under Fed. R.

Civ.   P.   12(b)(2)   that it   is   not subject to      general   personal

jurisdiction in Virginia.        It argues also that it is not subject

to specific personal jurisdiction in           Virginia    for this case.

Though Beacon Hill has two offices in Virginia, it argues that the

activities carried out by those offices are not related to this

case and that none of the events relevant to Apex's complaint took

place in Virginia.

       Beacon Hill argues in support of its motion under Fed. R.

Civ.   P. 12(b)(6) that the       noncompete   agreements Apex's former

employees signed were unenforceable, that Beacon Hill did not

actually impermissibly interfere with Apex's employment relations,

and that Apex cannot make an adequate showing of damages to state

a claim.


       Merriam and Scott, the former Apex employees whose alleged

poaching instigated this case, filed a joint motion to dismiss

Apex's claims against them pursuant to Fed. R. Civ. P. 12(b)(1)

and Fed. R. Civ. P. 12(b)(6).          They argue in support of their

motion under Fed. R. Civ. P. 12(b)(1) that this dispute is governed
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 3 of 37 PageID# 3294




by an arbitration clause in their Apex employment contracts and

that the Court thus has no jurisdiction over their dispute.           They

conclude that they cannot be required to litigate Apex's claims.

They argue in support of their motion under Fed. R. Civ. P.

12(b)(6) that Apex does not adequately allege the elements of a

breach   of   contract.   The   arbitration   issue   requires    separate

treatment,    but   Merriam   and   Scott's   other   arguments    exactly

parallel the arguments made by Beacon Hill in its briefing, and so

fail for the same reasons.


                          FACTUAL BACKGROUND


     Apex and Beacon Hill are staffing companies.            They assist

businesses in need of employees by helping them find suitable job

candidates.    The parties dispute the degree to which trade secrets

are at issue in this case, but Apex alleges that its business

involves extensive reliance on non-public information gleaned over

many years of conducting business in this field.        ECF No. 1 at 12.

Many contentions that Apex makes depend on the premise that there

is sensitive information or industry knowledge at stake.

     Apex charges Beacon Hill with having a "poach first, ask

forgiveness later" hiring strategy. ECF No. 1 at 1. The principal

allegation is that Beacon Hill recruited and hired Apex employees

"knowing that they were bound by valid and enforceable restrictive

covenant agreements."     Id. at 5.     This action was filed against

Beacon Hill and two individuals who were formerly employed by Apex
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 4 of 37 PageID# 3295




but now are employed by Beacon Hill (Scott and Merriam).                                 Each

employee's contract had what Apex alleges to be a valid restrictive

covenant that does not allow the employee to be employed (1) to do

the same kind of work (2) for a competitor within 50 miles (3)

within the 18-month period immediately following the end of their

employment with Apex.                   ECF No. 1-1.         The contracts included

further restrictions on the employee's ability to recruit Apex

employees for jobs at other companies.

       In its briefing on the issue of injunctive relief, Apex goes

into further detail about what it regards as a pattern in Beacon

Hill's    behavior       of    which    the   events    at   issue    in   this   case    are


alleged to be an instance.                     Apex claims that its restrictive

covenants are reasonable and permissible because it often recruits

and hires employees who have no relevant background or experience

and who must be trained to do their jobs from scratch, allowing

Apex   to    promote          home-grown       talent   from     within      rather      than

recruiting lateral hires who have been trained elsewhere.                           ECF No.

77 at 3.      Apex further claims that Beacon Hill employs a kind of

predatory strategy: aggressively recruiting top performers from

rival companies, and, in doing so, ignoring the valid restrictive

covenants applicable to those performers.                      ECF No. 77 at 1.          Apex

alleges     that,    as       part     of    this   strategy.    Beacon      Hill     offers

prospective employees assurance that they will be protected by

Beacon      Hill    in    the        event    of    litigation       by    offering      them
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 5 of 37 PageID# 3296




representation in any legal dispute that might arise over alleged

breaches of noncompete provisions in their previous employment

contracts.          ECF No. 77 at 4; see also ECF Nos. 77-10 and 77-11.

When--if ever—these cases are litigated, Apex claims that Beacon

Hill    then    further     implements     a   strategy   of   dilatory   motions

practice that hinders competitors from enforcing valid restrictive

covenants.^         In this case, for example, if Apex were to succeed in

obtaining an injunction, it would run for only a fraction of the

total    duration      of   the   restrictive    covenants     in   Merriam's   and

Scott's contracts before the 18 months would have elapsed.

        Merriam was formerly employed at Apex's northern Virginia

office in Falls Church, Virginia.               She had worked there for 23

months before she resigned.           ECF No. 41-2 at 1.       She was persuaded

to leave her job at Apex and to accept a job with Beacon Hill's

Washington, D.C. office.            Merriam was and is a resident of the

District       of    Columbia.    Since   joining   Beacon     Hill's   Washington



^ Apex alleges some other practices that, while not in themselves
actionable, fill out their characterization of Beacon Hill's
methods. Apex claims, for example, that it has reason to believe
that Beacon Hill instructs the poached employees not to inform
their previous employers that they are going to work for Beacon
Hill, and to refrain from updating their Linkedin profiles and
other such online pages so that past employers cannot learn that
they have gone to work for Beacon Hill. ECF No. 1 at 6. This, of
course, would (if true) further contribute to Beacon Hill's
strategy of running out the clock in these kinds of disputes, since
any noncompete agreements are likely limited to a maximum term of
about 24 months. Both Merriam and Scott are alleged to have quit
without advance notice and without informing Apex that they had
gone to work for Beacon Hill.             ECF No. 77 at 8-9, 13.
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 6 of 37 PageID# 3297




office, however, Merriam has conducted a substantial amount of

business-related activity in Virginia.              Merriam has had a number

of contacts with companies that are also Apex clients.                    Beacon

Hill argues that, because those clients were already clients of

Beacon Hill's before Merriam left Apex, Merriam's contacts with

them do not constitute improper conduct.             ECF No. 86 at 6

     Scott was formerly employed at Apex's Tampa office.                  She was

persuaded to leave her job at Apex and to accept a job with Beacon

Hill's    Tampa   office.     Scott    was and   is a       resident of Tampa,

Florida.


     Both Scott's and Merriam's contracts included forum selection

clauses    providing      that   any     disputes    about       the   employment

relationship governed by the contract are to be resolved by the

United States District Court in the Eastern District of Virginia.

Their contracts also contain an arbitration clause stating that

disputes for      non-injunctive       relief must     be    presented    through

arbitration rather than litigation. ECF No. 1-1.                 The arbitration

clauses    include   an     exception,    however,    for    a   party   to   seek

injunctive relief.          The parties dispute whether that exception

applies to this case.

                                  DISCUSSION


I.   Subject Matter Jurisdiction

     On its own initiative, the Court ordered Apex to show cause

that this case falls within the Court's diversity jurisdiction
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 7 of 37 PageID# 3298




under 28 U.S.C. § 1332.          ECF No. 93.      Apex's Complaint states

that for each defendant it has claims for damages ''no less than

$75,000."    While the Complaint also states that the total amount

in controversy exceeds $75,000, to meet the requirements of § 1332

a plaintiff must show that for at least one defendant the amount

in controversy is greater than $75,000 before other claims can be

included.    The Court therefore required Apex to show that its

Complaint stated a claim for relief exceeding $75,000 against at

least one of the three defendants.^

      Neither Beacon Hill, Merriam, nor Scott asserted the absence

of subject matter jurisdiction.         Apex's response to the show-cause

order {ECF No. 94) satisfies the Court that, taking into account

the claims for attorney fees, punitive damages, and injunctive

relief, it has subject matter jurisdiction in this action.

II.   Personal Jurisdiction


      The   parties    agree    that,   because   they     have    engaged   in

jurisdictional discovery, the Court must find by a preponderance




2 See, e.g., Freeland v. Liberty Mutual Fire Ins. Co., 632 F.3d
250, 250 (6th Cir. 2011) ("Despite the resources that have been
invested in litigating this action, we must dismiss it . . .
because the amount in controversy is one penny short of our
jurisdictional    minimum.");      Exxon   Mobile    Corp.    v.    Allapattah
Servs., 545 U.S. 546, 553 (2005) (stating that it is "a bedrock
principle" that a federal court "[has] no jurisdiction without
statutory authorization"); Arbaugh v. Y&H Corp., 546 U.S. 500, 514
("[W]hen a federal court concludes that it lacks subject-matter
jurisdiction,    the    court    must   dismiss     the   complaint    in    its
entirety.").
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 8 of 37 PageID# 3299




of the evidence that it has jurisdiction over Beacon Hill.                   Beacon

Hill    has   entered   a   special       appearance    challenging      personal

jurisdiction,    but    Merriam     and    Scott   have      not    contested   the

applicability of their contracts' forum selection clauses, nor has

any party contested venue under 28 U.S.C. § 1391.

       To establish that there is specific personal jurisdiction

over   Beacon   Hill,   Apex     must show    that     the   case    falls   within

Virginia's long-arm statute and that subjecting Beacon Hill to

suit in Virginia comports with due process.                   Consulting Eng'rs

Corp. V. Geometric Ltd., 561 F.3d 273, 277 (4th Cir. 2009).                   A due

process analysis requires proof that Beacon Hill "purposefully

directed" activities        at   residents    of   Virginia    and    that Beacon

Hill's contacts with Virginia are suitably related to the events

at issue in this litigation.        561 F.3d at 277 (quoting Burger King

Corp. V. Rudzewicz, 471 U.S. 462, 475 (1985)).                      To meet those

requirements. Apex must show that requiring Beacon Hill to defend

itself in this forum comports with the standards of "fair play and

substantial justice." Int'1 Shoe Co. v. Washington, 326 U.S. 310,

320 (1945).     For reasons set forth below, the Court finds that

each of these requirements has been met.

       A. Beacon Hill's Argument

       Apex's jurisdictional statement in its Complaint is sparse.

It says that "[t]his Court has personal jurisdiction over Beacon

Hill under Fed. R. Civ. P. 4(k) and Va. Code § 8.01-328.1 because
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 9 of 37 PageID# 3300




Beacon Hill maintains at least two offices and regularly transacts

business in the Commonwealth of Virginia."        EOF No. 1 at 4.     Apex

is presumably referring to subsection 4{k)(1)(A), which gives a

court jurisdiction over a party when it is subject to jurisdiction

in the state in which the court is located.        The Virginia statute

Apex cites gives a court jurisdiction over a person "as to a cause

of action arising from . . ." various circumstances.

     Thus, the statutory basis Apex points to for jurisdiction

apparently grants only specific personal jurisdiction ("as to a

cause of action").     It is, therefore, confusing that Apex makes

only a cursory gesture at the fact that Beacon Hill operates

offices in Virginia, with no mention of how those contacts relate

to this case—as though Apex intended to argue for general personal

jurisdiction.   Beacon Hill correctly argues that it is not subject

to general personal jurisdiction in Virginia in light of the

decisions of the United States Supreme Court in Goodyear Dunlop

Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011), and Daimler

AG V. Bauman, 571 U.S. 117 (2014).         In any event, in its reply

brief. Apex does not offer any argument for the Court's having

general personal jurisdiction over Beacon Hill, shifting instead

to arguing for specific personal jurisdiction.          Hence, it is not

necessary further to consider general in personam jurisdiction.

     Beacon Hill also argues that it is not subject to specific

personal jurisdiction in this case.       This argument hangs on a few
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 10 of 37 PageID# 3301




separate factual points that Beacon Hill treats as determinative.

First/ Scott and Merriam are both employed at Beacon Hill offices

outside the state (Florida and Washington, D.C., respectively).

ECF No. 41 at 6.    Second, though Beacon Hill acknowledges that it

conducts operations in Virginia, it argues that its contacts are

not sufficiently related to the events presented in the Complaint

to support a finding of specific personal jurisdiction.             Id. at 7.

Third, Beacon Hill argues that Apex's claim does not satisfy the

requirements of the Virginia long-arm statute.

     Beacon Hill rather confusingly divides its remaining argument

into a section on due process, id. at 7, and a section on the

standard of ''fair play and substantial justice," id. at 8.          Because

that language, taken from Int'l Shoe, was intended by the Supreme

Court to explain what is required by due process, and not some

separate requirement for jurisdiction. Beacon Hill's argument here

is a bit confused.      In essence, however, it repeats the point

already argued: that Beacon Hill's contacts in Virginia are not,

so it claims, related to this case in a way that would allow the

Court to exercise personal jurisdiction over the company.

     B. Assessment of Beacon Hill's Arginaent

                   1. Virginia's Long-Arm Statute

     Beacon   Hill's   argument   on   this   point   is   perfunctory   and

incomplete.   Beacon Hill points to subsection (A)(1) in Virginia's

long-arm   statute,     Va.   Code     §   8.01-328.1,      which    confers


                                     10
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 11 of 37 PageID# 3302




jurisdiction over a person "as to a cause of action arising from

the     person's    (1)        Transacting       any      business   in    this

Commonwealth . . .             Beacon Hill argues that this case is not

about any business that it transacted in Virginia because Merriam

accepted a job at a Washington, D.C. office and Scott accepted a

job at a Tampa office.          A separate declaration submitted by the

Beacon Hill employee who recruited Merriam states that none of the

events related to the recruitment took place while either party

was in Virginia.     EOF No. 41-1.       Thus, Beacon Hill concludes, this

case has nothing to do with Virginia.              But that argument is too

clever by half.

       Apex responds that the cause of action does partially arise

out of business conducted in Virginia because Merriam has worked

with Beacon Hill clients in northern Virginia as a part of her

role in Beacon Hill's Washington office.               That work. Apex says,

relates directly to Apex's tortious interference claim because the

work is being done in           breach   of the restrictive covenants in

Merriam's Apex employment contract.

       Beacon Hill's response to this point, which is repeated at

several places in the memoranda submitted with the motions to

dismiss, is that the clients and potential clients in Virginia

with   which   Merriam   had   contact    were   Beacon   Hill clients    before

Merriam resigned from Apex.         E.g., ECF No. 63 at 5.




                                         11
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 12 of 37 PageID# 3303




     That claim, if true, might affect the merits of the tortious

interference      claim    or    the   damage          award   if    the    claim   were

successful.       But Beacon Hill does not explain, nor is it readily

apparent, why that fact would affect the jurisdictional aspect of

Apex's claim.         The contractual clause at issue in this case

restricts Merriam's employments with competitors in particular

areas--it    is    not    relevant     to    the       basic   issue   of    breach   of

contractual terms and tortious interference with contract whether

the way in which Merriam broke the terms of the contract was by

attempting to lure her old clients from Apex or to engage in

competing    business     with   clients         who    were   not   previously     Apex

clients but who are potential Apex clients.                    What the contractual

terms most broadly prohibit is the basic activity of working for

a competitor in a similar capacity within the designated geographic

area.



        Put more simply, if Merriam, after taking a position at Beacon

Hill, began working with some client in northern Virginia, that

work appears to be          in   breach of the            noncompete agreement in

Merriam's Apex contract whether or not the client is a client of

Apex's and whether or not Beacon Hill had that client as a client

before      Merriam       joined.            See        Apex's       CONFIDENTIALITY,

NONCOMPETITION, NONSOLICITATION, AND NONDISCLOSURE AGREEMENT {ECF

No. 1-1 at 2):




                                            12
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 13 of 37 PageID# 3304




     "Competing   Business"   means   any  person,   business   or
     subdivision of a business which provides products or services
     that are the same         as or     substantially similar       to, and
     competitive  with,          the      Business   of   the         Company
     . . . "Competing Position" means a position held by the
     Employee with a Competing Business that involves duties
     within     the   Restricted   Territory   that   are   the   same   as   or
     substantially similar to the duties the Employee performed
     for the Company . . . .

There is, then, little doubt that the events at issue in this case,

as alleged in the Complaint and as presented by the record so far,

satisfy subsection (1) of Virginia's long-arm statute.

     As importantly. Beacon Hill ignores the two other subsections

of the long-arm statute that apply here if Apex's allegations are

treated as true:


     (3) Causing tortious injury by an act or omission in this
     Commonwealth;


     (4) Causing tortious injury in this Commonwealth by an act or
     omission outside this Commonwealth if [the party] regularly
     does or solicits business, or engages in any other persistent
     course of conduct, or derives substantial revenue from goods
     used or consumed or services rendered, in this Commonwealth.

Beacon Hill states in its answer that "Plaintiff asserts that this

Court     has   person    jurisdiction     over   Beacon     Hill    pursuant

[to] . . . § 8.01-328(A)(1)."          ECF No. 41 at 6.           But this is

imprecise.      Paragraph 11 of the complaint says only that:

     "This Court has personal jurisdiction over Beacon Hill under
        Fed. R. Civ. P. 4{k) and Va. Code § 8.01-328.1 because Beacon
        Hill maintains at least two offices and regularly transacts
        business in the Commonwealth of Virginia."

ECF No. 1 at 4.       Because Apex does not specify which subsection of

the statute it takes to apply to this case, the Complaint does not


                                     13
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 14 of 37 PageID# 3305




rest solely on the claim that this case satisfies the subsection

that Beacon Hill mentions.             And it is clear that Apex's alleged

facts        and    the    materials    that    subsequently     emerged    from

jurisdictional discovery satisfy the requirements of subsection

(4).3

        The elements in subsection (4) are that the event: (i) causes

tortious injury; (ii) in Virginia; (iii) by an act or omission

outside Virginia; (iv) by a party that regularly does business in

Virginia.

        Element (i) is satisfied and is straightforwardly alleged in

the Complaint because the cause of actious is tortious interference

with contract.          Element (ii) is satisfied and is impliedly alleged

because Apex alleges an injury both to its northern Virginia office

(where Merriam worked) and its business as a                   whole (which is

headquartered in Virginia).             Element (iii) is satisfied and is

alleged because Apex claims that Beacon Hill's improper conduct

involved poaching Apex employees to work in Beacon Hill offices in

Florida and the District of Columbia.                Element (iv) is satisfied

and     is    alleged     because   Beacon    Hill   has   multiple   offices   in

Virginia.          And each element finds adequate support in the record

on the jurisdictional motion.




3 It may also satisfy subsection (3), but if so, it would probably
be for the same reason that it also satisfied subsection (1), so
that is not an alternative way for Apex to prevail on this point.

                                         14
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 15 of 37 PageID# 3306




      In sum, Beacon Hill's statutory argument addresses only one

section of the Virginia long-arm statute, failing even to show

that that section does not apply, and it ignores the section that

most clearly applies to this case.               Because jurisdiction under a

state statute is a prerequisite to jurisdiction under Rule 4(k),

this is a significant oversight on Beacon Hill's part.                          Because

Apex satisfies the requirements for personal jurisdiction under

subsection (4), Beacon Hill is left only to argue that the exercise

of   such    jurisdiction      would    offend        its    due     process    rights,

irrespective of whether or not its arguments as to the other

section of the Virginia long-arm statute is successful.

                            2. Due Process Analysis

      The   due    process     analysis       looks    to     whether     Beacon      Hill

purposefully       directed    its     actions    at        Virginia,     whether     its

contacts    with    Virginia    are    related to this suit, and                whether

subjecting    Beacon    Hill    to     suit    comports       with    fair     play    and

substantial justice.          This determination is made on the basis of

the '^totality of facts," Universal Leather, LLC v. Koro AR, 773

F.3d 553, 561 (4th Cir. 2014), and is not a mechanical test,

looking     instead    to     whether    a     defendant       ''should      reasonably

anticipate being haled into court" in the relevant forum.                        Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985).

      The factors for assessing personal availment in the business

context "include whether the defendant maintains offices or agents



                                         15
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 16 of 37 PageID# 3307




in the forum state; owns property in the forum state; reached into

the forum state to solicit or hail business; deliberately engaged

in significant long-term business activities in the forum state;

or made in-person contact with the resident of the forum in the

forum state regarding the business relationship."           Perdue Foods

LLC V. BRF S.A., 814 F.3d 185, 189 {4th Cir. 2016) (internal

quotation marks and citation omitted).          In Beacon Hill's case,

many of these factors are clearly satisfied: Beacon Hill maintains

offices in Virginia; it has, in connection with this case, reached

into Virginia to solicit or hail business; and its offices in the

state and in the District of Columbia engage in long-term business

activities in Virginia.

     Beacon    Hill   argues    that     exercising   specific    personal

jurisdiction over it in this case would violate the standard of

^'fair play and substantial justice" as developed in Helicopteros

Nacionales de Colombia S.A. v. Hall, 466 U.S. 408 (1984), and

Burger King.   But the application of that standard to this case is

at best quite impressionistic:

     Beacon Hill is accused of hiring a resident of Washington,
     D.C. and a resident of Florida to perform services for Beacon
     Hill at its Washington, D.C. office and its Tampa, Florida
     office . . . Beacon Hill is a company organized and existing
     under Massachusetts law and headquartered in Massachusetts.
     The only connection between this dispute and Virginia is
     Apex's speculation that Merriam has been calling on,
     servicing, and contacting her former Apex clients since
     joining Beacon Hill.    That speculation was answered by
     evidence in the form of the Declaration Merriam filed with
     this Court.




                                    16
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 17 of 37 PageID# 3308




ECF No. 41 at 8.       This argument is undercut by the fact that

Merriam later issued a correction (ECF No. 49) clarifying that she

had participated in one call with one of the listed former clients,

though the parties dispute the significance of that call.                   More

importantly, as discussed above. Apex's cause of action does not

depend    on   Merriam's   having    targeted    current      or   former   Apex

customers—Merriam     appears   to    be   in   breach   of    the    noncompete

provisions of her contract if she is engaging with any customers

within the 50-mile radius specified by the contract.                 And by that

standard. Beacon Hill's and Merriam's contacts with Virginia are

quite voluminous.      As Apex observes in its opposition brief to

Beacon Hill's Motion, depending on how one counted, Merriam has

had anywhere from dozens to thousands of business contacts with

individuals and entities located in Virginia.            ECF No. 55 at 6.

     More significantly, the         very reason     why Beacon        Hill can

protest that Merriam was hired "to perform services for Beacon

Hill at its Washington, D.C. office" is that she was hired away

(tortiously so. Apex alleges) from her work at Apex's Virginia

office.    The suit concerns events that led to Merriam's leaving

the Virginia office to join Beacon Hill's Washington Office, i.e.,

events that were in part targeted at Virginia and the effects of

which were felt in Virginia (Apex's loss of an employee and alleged

competitive harms in Apex's work with Virginia clients).                    This

point stands alongside the fact that Merriam's employment with


                                      17
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 18 of 37 PageID# 3309




Beacon Hill's Washington office is. Apex alleges, a continuing

breach of the noncompete provision in her Apex contract.                    That

contract governed employment at a Virginia office of a Virginia

company and restricted competition with businesses in the relevant

area of Virginia.    Far from being a case where Beacon Hill ^'should

not have anticipated being sued" in Virginia, it ought to have

been readily apparent to Beacon Hill that it was running precisely

such a risk when, according to the Complaint, it encouraged Merriam

to breach the restrictive covenants in her employment agreement

and to work for Beacon Hill's Washington, D.C. office.

       In short. Beacon Hill's effort to portray the events at issue

in   this   litigation     as   unrelated   to    Virginia    is   simply    not

plausible.     It is no wonder that Beacon Hill alleges a lack of

connections with Virginia when its characterization of the events

at issue omits all of the events that occurred in or were targeted

at Virginia.    A more careful examination of the record shows that

Beacon Hill's characterization of the events is incomplete.            Burger

King    instructs   that    jurisdiction     is    inappropriate     where     a

defendant's contacts are ^^random, fortuitous, or attenuated."               471

U.S. at 472.    But that is hardly the case here.            If Apex's claims

are correct, each day that Merriam had contacts with Virginia

companies in her position at Beacon Hill continues the breach of

her Apex contract--a breach triggered by actions taken in Virginia,

targeted at Virginia, and the effects of which are felt in


                                      18
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 19 of 37 PageID# 3310




Virginia.      Whether Merriam           actually in breach of her contract

and    whether the contractual noncompete             provision is legitimate

under Virginia law are questions undecided on their merits; but

that    does    not   preclude     the     exercise    of   specific     personal

jurisdiction     over   Beacon     Hill so that those        questions    may be

decided on their merits.


       Beacon Hill makes some reference to Walden v. Fiore^ 571 U.S.

277 (2014), apparently trying to argue that this case more closely

resembles the facts of that case than the facts of Calder v. Jones,

465 U.S. 783 (1984), the other prominent Supreme Court precedent

governing specific personal jurisdiction over defendants whose

actions in whole or in part occurred outside the forum state.                Both

cases present the question whether a court has jurisdiction over

a defendant who was not present in the forum when committing the

actions at issue in the suit.             The cause of action in Calder was

a tort suit by a California               resident for the     publication      of

allegedly libelous materials in a national magazine written and

published in Florida ^'with a large circulation in California."

465 U.S. at 784.      At issue in Walden was a federal agent's allegedly

improper    seizure     of   the   plaintiff s    gambling    winnings     at   an

airport, followed by the agent's drafting a dishonest affidavit in

support of the forfeiture.          571 U.S. at 278-79.

       Reconciling these cases makes clear why jurisdiction over

Beacon Hill is appropriate in this case.               In Walden, the Supreme


                                          19
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 20 of 37 PageID# 3311




Court emphasized that a plaintiff^ s ties to a forum are not in

themselves sufficient to establish jurisdiction over the defendant

in that forum.      The plaintiff needed also to be able to show that

in some way the defendant had targeted the forum.                  Id. at 287-89.

While     the   Supreme    Court   did       not    dispute      the     plaintiff's

characterization of the situation as being such that the effects

of the defendant's actions were felt in Nevada, the Supreme Court

pointed out that, had the plaintiffs relocated to a different

state, the defendant's actions would have been the same yet the

effects would have been felt in that state rather than in Nevada.

Id. at 289.     On that record, then, the defendant's conduct did not

actually target Nevada.

        In Calder, by contrast, the publication of the material at

issue    was    specifically   targeted       at    the    forum   in     which   the

publication      was   circulated.       465        U.S.    at   287     (''[B]ecause

publication to third persons is a necessary element of libel . . .

the     defendants'       intentional        tort     actually         occurred

California.").

        The case for Virginia jurisdiction here is comparably strong

to the case for jurisdiction in Calder;                   Merriam was hired away

from a Virginia office, was hired into an office                         within the

geographic scope of the noncompete term in her contract, and so

was hired into a job the duties of which necessarily conflicted

with the terms of her Apex contract.           In Walden, had the plaintiffs


                                        20
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 21 of 37 PageID# 3312




moved to a different state, the cause of action would have remained

the same, but the injury would have been felt in a different place.

In this case, as in Calder, the defendant's actions are what cause

the alleged injury to occur in a certain place (in Calder, the

place    of    publication;       here,    the       office's location       within   the

noncompete zone).           There is little doubt that Virginia is "the

focal point of the tortious activity."                   Carefirst of Md., Inc. v.

Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 398 n. 7 (4th Cir.

2003).    Thus, on the standard set forth by Supreme Court and Fourth

Circuit       precedent.    Beacon    Hill's          contacts      with   Virginia   are

sufficiently substantial and sufficiently related to this action

for Beacon Hill to be amenable to suit in Virginia for the events

at issue in this case.


        The final prong of the due process analysis asks whether

exercise       of   jurisdiction          is    "constitutionally          reasonable,"

Consulting Eng'rs Corp. v. Geometric Ltd., 561 F.3d 273, 279 (4th

Cir. 2009), such that it comports with fair play and substantial

justice.       Factors to consider in performing this analysis include:

        (1) the burden on the defendant of litigating in the forum;
        (2) the interest of the forum state in adjudicating the
        dispute; (3) the plaintiff's interest in obtaining convenient
        and effective relief; (4) the shared interest of the states
        in obtaining efficient resolution of disputes; and (5) the
        interests      of   the    states       in    further    substantive     social
        policies.

Id.      As    noted   above.     Beacon       Hill    does   not    actually   offer   a

substantive due process objection to jurisdiction aside from the


                                               21
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 22 of 37 PageID# 3313




claim that its contacts with Virginia are not sufficiently related

to this suit.   And consideration of the Geometric factors confirms

that Beacon Hill has no plausible objection on these grounds.

     Beacon Hill has not claimed any undue burden in litigating

this case in Virginia, nor is there any doubt that Virginia has an

interest in protecting its companies from what is alleged to be

tortious interference by out of state actors.            It is similarly

clear that Apex has an interest in having this case decided in

Virginia, where it is headquartered, where Merriam was employed

before she left for Beacon Hill, and where Merriam's and Scott's

employment contracts dictate any legal action be decided.           In the

absence of any plausible countervailing arguments from Beacon

Hill, these considerations are more than adequate to find that

Beacon Hill's due process rights are not violated by being hailed

in a Virginia court.

II. Failure to State a Claim


     In addition to its jurisdictional argument. Beacon Hill also

moves to have the Complaint dismissed           under   Fed.   R. Civ. P.

12(b)(6) because, it argues, the Complaint does not meet the

pleading standards set by Bell Atlantic Corp. v. Twombly, 550 U.S.

544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009).          In making

this argument. Beacon Hill challenges the sufficiency of Apex's
allegations as to each element of tortious interference.            Beacon

Hill argues, in short, that the Apex employment contract was not


                                    22
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 23 of 37 PageID# 3314




a valid contract to begin with; that Beacon Hill used no improper

means    in   recruiting       and   hiring         Merriam   and   Scott   and   had    no

knowledge     of    the    relevant       terms     of   their   Apex   contracts;      and

finally, that Apex cannot make the requisite showing of damages to

bring this cause of action.

     1. Enforceabili'by of Apex's Confidentiality, Noncompetition,
     Nonsolicitation, and Nondisclosure Agreement

        Beacon     Hill   begins     by    challenging        the   validity    of every

noncompete       term     in   Merriam     and      Scott's    employment      contracts.

Beacon Hill's arguments on this point are, without exception, very

weak, to put it charitably.                 Apex argues that the issue of the

enforceability of these provisions cannot even be raised in a Rule

12(b)(6) motion, citing to the Supreme Court of Virginia's opinion

in Assurance Data, Inc. v. Malyevac, 286 Va. 137 (2013) (holding

that the      enforceability of            a   restraint on         competition in       an

employment contract could not be decided at the demurrer stage

because ^^restraints on competition are neither enforceable nor

unenforceable in a factual vacuum").                     Beacon Hill argues that this

is a state procedural rule that can be jettisoned when, as here,

the opposing party attached the relevant agreement to the Complaint

(ECF No. 1-1) and made the content of the agreement part of the

substance of its arguments in its initial pleading, along with

Sealed Exhibit 1 (which establishes that Merriam did not have Apex

clients more than about 30 miles from the Falls Church office).




                                               23
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 24 of 37 PageID# 3315




     Apex is correct to argue, however, that Beacon Hill cannot,

in a Rule 12 motion, rely on facts outside of the Complaint, even

though documents attached to the Complaint can be considered.           To

the extent that Beacon Hill relies in some places on facts that

emerged in discovery. Beacon Hill's motion is no longer a motion

to dismiss but a motion for summary judgment.       What is more. Beacon

Hill's argument is unpersuasive because the factual information

contained in the exhibit does not permit the Court to determine

that the noncompete terms are unreasonable as a matter of law, the

test to be applied under federal law. Neither party is especially

careful about these points, however, and Beacon Hill's arguments

can be dispensed with on their own terms, even though they are

premature at this stage of the proceedings.

               a. Territorial Limitation


        Beacon Hill's first challenge to the validity of the contract

takes    aim   at the   50-mile   territorial limitation.     Beacon   Hill

claims that the restriction is invalid because it is both ambiguous

and overly broad.       Those arguments are extraordinarily strained.

        The "'Restricted Territory" provision of the Apex employment

contract sets the boundaries within which the noncompete agreement

applies.       It defines the area as:

        [A] fifty (50)-mile radius around any Apex office, including
        Employee's home office (if applicable), in which the Employee
        regularly worked . . . during the twenty-four (24) months
        immediately preceding the cessation of his employment.



                                      24
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 25 of 37 PageID# 3316




ECF No. 1-1 at f l(i).       Beacon Hill first argues that the provision

''is ambiguous because it can be read to prohibit employment within

50 miles of any Apex office, which includes the employee's home

office."    ECF No. 41 at 12.       It beggars belief that Beacon Hill

makes this argument.

       The phrase "including Employee's home office (if applicable)"

is offset by commas.         It is thus a nonlimiting modifying phrase

that    explains    the     antecedent,   "any   Apex   office,"   without

restricting it.''     The phrase "in      which the employee regularly

worked . . . ," which follows the nonlimiting "including" phrase,

is a limiting phrase.        The limiting phrase indicates its meaning

by its construction, which follows the standard rules of written

English:   The word "which" is preceded by commas and the phrase as

a whole is offset by commas.^        This construction makes abundantly

clear that it is a limiting phrase that narrows the scope of the

referent from all Apex offices to only those in which the employee

regularly worked.         Beacon Hill offers nothing but an ipse dixit

claim in support of the contention that the sentence as a whole is

ambiguous to a competent reader of English.



  See Chicago Manual of Sty^ at 6.50, "Commas with 'such as' and
'including'" (17th ed. 2017) ("Nonrestrictive phrases introduced
by these terms are set off by commas (because they are not
essential to the meaning or identity of the noun they modify).").
5 See Chicago Manual of Style at 5.250, "that; which" (17th ed.
2017) ("Which is best used restrictively only when it is preceded
by a preposition . . . Nonrestrictively, it is almost always
preceded by a comma, a parenthesis, or a dash.").

                                     25
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 26 of 37 PageID# 3317




     Beacon Hill argues in the same section of its brief that the

provision is further ambiguous because "home office" might be read

as referring either to employees' work-from-home office or the

main Apex office to which they were assigned.           This argument is

slightly less strained because both readings are, in isolation,

possible readings of the phrase.         But the argument nevertheless

fails for two reasons.     First, because the second reading of the

phrase {the main Apex office to which the employee is assigned)

makes no pragmatic sense whatever.        It would be so obvious as to

be not worth mentioning, even in a contract, that "any Apex office"

includes the   main   office   at which the    employee   worked.     (Put

otherwise, it is hard to imagine how one could argue that "any

office" does not include the main office at which the employee

worked.)   By contrast, it is a sensible clarification to include

in the contract that a      work-from-home office falls within the

meaning of "office."

     But even if that argument were inadequate fully to resolve

the issue, there remains the conclusive grammatical point that the

putatively ambiguous phrase is a nonlimiting phrase (as shown

above) and thus it is, by definition, not essential to the scope

of application of the sentence as a whole.            There remains for
Beacon Hill only the claim that an employment contract is void in

its entirety if a single provision allows for even the smallest

amount of ambiguity as to the meaning of any part of the contract.


                                    26
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 27 of 37 PageID# 3318




Beacon Hill has not cited any authority that would support such a

view.     Nor has the Court located any such authority.

        Beacon   Hill argues   as   well that the     Restricted     Territory

provision    is    invalid   because   it   is   overbroad    in   prohibiting

employment within the designated time frame at competitors within

a 50-mile range.       But Beacon Hill does not cite to any authorities

as to what sort of standard for overbreadth must be applied to

employment contracts.        Instead, Beacon Hill merely reasons that 50

miles is greater than necessary because it extends further from

the Apex Falls Church office than Apex has shown Merriam to have

had contacts with clients.


        Beacon Hill argues also that the provision is invalid because

Apex uses the same 50-mile radius at all of its offices instead of

modifying the exact radius of the noncompetition agreement to be

closely     tailored    to   the    geographic   scope   of   each    office's

clientele.®       But Beacon Hill cites no case law that establishes

that the prohibition of overbreadth is as demanding as it suggest.

Indeed, it would be extraordinary if the standard were as stringent

as Beacon Hill suggests it to be, particularly because, for a

company like Apex, the exact geographic range of its client base

presumably fluctuates quite frequently.



® This is but one example of the issue, mentioned above, of Beacon
Hill's resorting to arguments that depend on factual points outside
of the Complaint. Thus, this is an argument that, even supposing
it had merit, could only be made in a motion for summary judgment.

                                       27
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 28 of 37 PageID# 3319




     Beacon Hill's reasoning, if it were accepted, would suggest

the need for still more stringent oversight of such contractual

terms because there is        no reason to suppose that Apex's Falls

Church office maintains client contacts an equal distance in each

direction (they assuredly have no clients 50 miles to the southeast

in the center of the Chesapeake Bay).            Beacon Hill's logic would

thus seem to suggest that, rather than a radius extending in all

directions, the clause would have to be narrowly tailored to extend

only so far in each direction as Apex's current clientele is

geographically distributed.       But Beacon Hill has not cited to any

authority   suggesting   the    need     for   the    kind   of    tailoring     of

noncompete terms that they claim to be necessary.

     Beacon Hill also makes the stronger claim that Apex needed to

present    evidence   that    Merriam    and    Scott    personally        serviced

clients to the full extent of the 50 mile radius.              This claim adds

to the previous claim what is essentially the restriction that

companies may not employ standard noncompete terms in employment

contracts but must instead, to avoid overbreadth, customize the

exact restrictions for each employee.                But Beacon Hill has not

cited any authority that would support such a view.                  Nor has the

Court located any such authority.

     For    the   foregoing   reasons.       Beacon   Hill's      attack    on   the

Restricted Territory provision is rejected.




                                        28
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 29 of 37 PageID# 3320




           b. Restraint on Competition

     Beacon Hill's argument on this point is likewise strained.

The Apex contract restricts employment at competing businesses,

which are defined as "any person, business, or subdivision of a

business which provides products or services that are the same as

or substantially similar to and competitive with, the Business of

the Company . . . excluding subdivisions of a business, if any,

which do not primarily engage in the Business of the Company."

ECF No. 1-1 at 2.    A "competing position" is defined as a position

at a competing business "that involves duties within the Restricted

Territories that are the same as or substantially similar to the

duties the Employee performed for the Company." Beacon Hill argues

that this means that the contract "would preclude a former employee

from working in any capacity for a competitor . . . ." ECF No. 41

at 13.   But it is immediately evident from reading the contractual

terms emphasized above that this is a mischaracterization of the

noncompete provision because the language of the Apex contract

explicitly disclaims any such restriction.

           c. Non-Recruitment Term


     The non-recruitment term has no direct relevance to this suit

but Beacon Hill challenges its validity anyway, hoping in doing so

to show that the contract's purported overbreadth invalidates it

in its entirety.




                                    29
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 30 of 37 PageID# 3321




      Apex's     noncompete    term   prohibits ''Mirectly         or   indirectly,

whether on Employee's own behalf or on behalf of any other person

or   entity, (i) solicit[ing] or indue[ing] any employee of the

Company    to    terminate    or    lessen     such    employment . . . for     the

purpose of performing services for a Competing Business; or (ii)

hir[ing]    or    caus[ing]    to   be    hired,      for   any   employment   by   a

Competing Business, any person who was employed by the Company

within the three (3) month               period preceding the cessation of

Employee's employment by the Company."                ECF No. 1-1 at 3.

      Beacon Hill cites a variety of inapplicable cases in arguing

that this term is unenforceable.               The first case cited, ManTech

Int'l Corp. V. Analex Corp., 75 Va. Cir. 354 (Fairfax County 2008),

concerns    a    non-recruitment      term     that   is    substantially   broader

(prohibiting recruitment of employees to do anything, as opposed

to Apex's term, which merely prohibits recruitment from Apex to a

direct competitor).          The second case, Int'l Paper Co. v. Brooks,

63 Va. Cir. 494 (Roanoke City, 2003), concerns a provision that

lasts in perpetuity, unlike the one at issue here.

      Finally, as Apex notes, the remaining cases that Beacon Hill

cites relate to non-competition terms and not to non-recruitment

terms.     In the absence of any argument as to why the one should be

applicable to the other, these cases are not relevant to the point
Beacon Hill is trying to establish.




                                          30
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 31 of 37 PageID# 3322




       A non-recruitment term does not implicate the same concerns

as   restraints   that limit   the   kind    of   work   that employees    are

permitted to do upon leaving their employment.           It is, accordingly,

less obvious why the Court should be concerned about a reasonable-

seeming term clearly designed to prevent a departing employee from

triggering an exodus of other Apex employees.            Because Beacon Hill

cannot cite to any case law that would indicate why this term is

unenforceable--in particular, because it has no actual relevance

to this case--this argument is also unsuccessful,

             d. Nondisclosure Term


       Amid stiff competition, this is the most groundless of Beacon

Hill's objections to the Apex contract's terms. Beacon Hill argues

that   the   contract's   definition    of   confidential    information    is

overbroad and thus unenforceable.            The basis for Beacon Hill's

argument is that the provision refers to "present and prospective

client and candidate lists or client and candidate information,"

which Beacon Hill alleges to be information that is often publicly

known, or at least publicly available.             ECF No. 41 at 15.       But

this is an egregiously cherry-picked quotation.               The very same

paragraph explicitly states that the restriction is limited to

information that is (1) not generally known outside the company

and (2) which employees learn in the course of their employment

and (3) which would be beneficial to competitors. Beacon Hill's

argument is thus, essentially, that the contractual term is invalid


                                       31
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 32 of 37 PageID# 3323




because it admits of an unreasonable application—which purported

application is expressly denied in the very paragraph being cited,

               e. Availability of Blue-Penciling

       Finally, Beacon Hill argues that, if any of the overbreadth

arguments succeed, the Apex employment agreement must be treated

as invalid in its entirety because Virginia law does not allow

blue-penciling invalid terms.           Because the existence of a valid

contract is an element of the cause of action in Apex's complaint,

this   argument, if successful,         would   threaten   a    sort of chain

reaction:      a finding that any one of the provisions was invalid as

written would invalidate the rest of the contract as well, which

would preclude the cause of action, which would effectively end

the suit.


       This issue is irrelevant because the Court finds both that

the    claim    of   overbreadth   is   premature   at   this   stage   of   the

litigation and that none of the provisions have been shown to be

overbroad. But Apex also correctly points out that Virginia courts

''recognize[ ] the difference between severing a clause ... and

rewriting or 'blue penciling' a contract." CMS Indus. Supply, Inc.

V. G & S Supply, LLC, 441 F. Supp. 3d 221, 227 (E.D. Va. 2020)

(quoting Pitchford v. Oakwood Mobile Homes, Inc., 124 F. Supp. 2d

958, 965 (W.D. Va. 2000)).         Thus, even if Beacon Hill were able to

make a more persuasive showing that some term in the Apex contract

is not valid, it would need further to show that Apex's cause of


                                        32
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 33 of 37 PageID# 3324




action could not be sustained absent application of that provision

to this case.


       2. Improper Methods

       Beacon Hill's argument on this point is a bit confusing.         It

argues that Apex "'does not allege that Beacon Hill induced or

caused a breach of any specific provision of either [employee's]

agreement, much less used improper means to do so."         ECF No. 41 at

17-18.    Apex points to case law establishing that use of improper

methods is not an element of a tortious interference claim where,

as   here,   the    allegedly   tortious   acts   concern   clauses   (the

noncompete provisions) that are not terminable at will.         See Depuy

Synthes Sales, Inc. v. Jones, 2:13cv392, 2014 U.S. Dist. Lexis

37727 at *13 (E.D. Va. Mar. 21, 2014).

       Even were this not the case. Beacon Hill's claim would be

hard to credit at this stage of the litigation because Apex has

certainly alleged a number of ways in which Beacon Hill engaged in

sharp dealing.      See supra, FACTUAL BACKGROUND.

       3. Damages

       Finally, Beacon Hill argues that Apex's Complaint must be

dismissed because Apex has not shown any evidence of damages

adequate to satisfy the final element of a well-pleaded complaint
alleging tortious interference.          Beacon Hill emphasizes in its
brief in support of the Motion and in its reply brief that Apex

does    not assert or    show   evidence   of   having   already suffered


                                    33
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 34 of 37 PageID# 3325




concrete      harms    as    a    result     of    Merriam's     and   Scott's      alleged

breaches      of their employment contracts.                     But   Beacon    Hill       has

vanishingly      little      in    the      way    of   authority      to    support    this

demanding standard for what a plaintiff needs to show to satisfy

the injury element of this cause of action at the pleading stage.

Apex, in turn, cites to a recent District case denying a motion to

dismiss on broadly similar facts.                   Update, Inc. v. Samilow, 311 F.

Supp. 3d 784 {E.D. Va. 2018).                In Samilow, the Court held:

       ''Plaintiff has a legitimate business interest in imposing a
       reasonable non-compete clause to protect itself from losing
       potential work to competitors through employees who leave the
       company and then compete against [plaintiff] using the
       business sensitive knowledge and contacts they acquired as an
       employee."

Id. at 788 (internal quotation and citation omitted); see also

Robert Half Int'l, Inc. v. Billingham, 315 F, Supp. 3d 419 (D.D.C.

2018) (granting a preliminary injunction against Beacon Hill in a

suit    for    breach       of    contract        and   tortious    interference        with

contract).


       The precepts explained in Samilow and Robert Half stand to

reason.       To the extent that noncompete provisions are legitimate,

it would be surprising if they could not be enforced until a

plaintiff had suffered tangible and                         demonstrable      harm.         The

injuries against which the terms serve to protect employers are of

the    kind    that    are       not   always      easily    quantifiable       and    where

causation      is     difficult        to   prove.       These   may    or    may     not    be



                                              34
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 35 of 37 PageID# 3326




surmountable impediments to Apex's successfully litigating this

case on the    merits, but Beacon Hill has not shown that Apex's

Complaint fails the relevant pleading standards.

III. Merriam and Scott's Argument

     Merriam and Scott's Motion makes many of the same arguments

as Beacon Hill's, though with the crucial differences that Merriam

and Scott do not challenge whether they are subject to personal

jurisdiction in this district.          Thus, the shared arguments as to

the validity and enforceability of Apex's employment contract meet

the same fate.    They fail.

     Merriam and Scott do, however, make the additional argument

that the arbitration      clauses in their        contracts are     valid   and

enforceable, and that those clauses require that Apex's claims

against them be brought in arbitration rather than in federal

court. Because Apex's only claim against the individual defendants

is for injunctive relief, however, Merriam and Scott's argument

that the arbitration clause's exception for injunctive relief is

inapplicable is the only thing that remains to be addressed.

     The    parties    agree     that   Merriam   and    Scott's   employment

contracts    contain    valid     and    enforceable     dispute   resolution

agreements     that    mandate     arbitration     for    employment-related

disputes that would otherwise be litigated in court.               ECF No. 43-

1, Ex. A.      The Agreement contains a section called ''Excluded

Claims."     Id. § I.e.   That section includes among its exceptions


                                        35
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 36 of 37 PageID# 3327




the clause that ^'either Party may apply to a court of competent

jurisdiction for temporary or preliminary injunctive relief in

connection with an arbitrable controversy, but only upon the ground

that the award to which that Party may be entitled may be rendered

ineffectual without such provisional relief."         Id.

     Merriam and Scott argue that, because Apex is seeking remedies

other than injunctive relief in addition to its motion for an

injunction, the injunction exception does not apply and this

dispute must be arbitrated. ''Alternatively," they argue, the Court

should "enter an order staying this litigation and compelling Apex

to arbitrate its claim against Merriam and Scott in accordance

with the Agreements."     EOF No. 43 at 1-2.

     Merriam and Scott's most substantive argument is that Apex

conceded in a case filed in Henrico County Circuit Court that an

arbitration provision identical to the one at issue here was

applicable in a suit seeking an injunction, and that therefore

Apex is functionally estopped from arguing that this case does not

also require arbitration. ECF No. 43 at 6. Apex notes in response,

however, that that case sought a permanent injunction against the

employee, while this case moves only for a preliminary injunction,

which is explicitly within the scope of the arbitration clause.

     Merriam and Scott argue as well that this case should be

stayed pending resolution of the other issues or that this case
must be referred to arbitration because Apex asked for relief other


                                    36
 Case 3:21-cv-00165-REP Document 95 Filed 12/03/21 Page 37 of 37 PageID# 3328




than a preliminary injunction.          But as Apex's complaint and later

motion for a      preliminary injunction indicate, the only relief

sought against Merriam and Scott right now is injunctive relief,

with the remaining claims for damages directed at Beacon Hill.

Were Apex later to attempt to obtain other forms of relief against

Merriam and Scott outside of the kind of arbitration dictated by

their contracts, Merriam and Scott would then have grounds to

petition the Court to send the case to arbitration.

       Finally,   on   a   more    formalist   note.   Apex   argues   that   an

arbitration clause is, like the rest of the agreement, a contract

that courts must enforce but that does not itself deprive a court

of its jurisdiction.       Thus, the proper motion for Merriam and Scott

to file here would seem to be a motion to compel arbitration and

not a motion to dismiss for lack of jurisdiction.               EOF No. 56 at

5-6.   In either case, Merriam and Scott's motion does not succeeded

in its argument and Apex's Complaint will not be dismissed.

                                    CONCLUSION


       For the reasons stated above, the defendants' Motions will

be denied.


       It is so ORDERED.


                                                 /s/

                                  Robert E. Payne

                                  Senior United States District Judge

Richmond, Virginia

Date: December ^ , 2021
                                        37
